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                              UNITED STATES BANKRUPTCY COURT
                          EASTERN AND WESTERN DISTRICT OF ARKANSAS


In re: GARY LYNN SNOW and BILLYE JO SNOW                                             Case No: 4:18-bk-71466 T




                       OBJECTION TO CONFIRMATION OF PLAN

    Comes now Jack W Gooding, Standing Trustee for Chapter 13 cases, for his objection to
the plan of the above debtor(s) states:

1. 11 U.S.C. 1325(a)(1) the plan does not comply with the provisions of Chapter 13 and with other
applicable provisions of the Bankruptcy Code. The plan and application for compensation are
inconsistent.

2. 11 U.S.C. 1322(a)(1). The plan does not commit to the supervision and control of the Trustee funds
sufficient for the execution of the plan. The proposed payments under the plan are insufficient to
accomplish the purposes designated under the plan.

    Wherefore, your petitioner prays for an order denying confirmation of the plan and dismissing this
case and for all other just and proper relief to which he may be entitled.


Dated: 7/11/2018                                                          /s/ Jack W Gooding
                                                                    _____________________________
                                                                       CHAPTER 13 TRUSTEE



                                      CERTIFICATE OF SERVICE
   I, Jack W Gooding, do hereby certify that a true and correct copy has been mailed this day, 7/11/2018, with
sufficient postage to assure delivery to the following:

Gary Lynn Snow And Billye Jo Snow
200 Iva Street
Hope, Ar 71801

Montgomery Law Firm Pllc - Electronically by ECF
                                                                                /s/ Jack W Gooding

                                                                              CHAPTER 13 TRUSTEE




                                                                                                            JCH
